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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 BENJAMIN ACUNA (1),           )           CRIM. NO. 07-00615 SOM
 ANABEL VALENZUELA (2),        )
                               )
           Petitioners,        )
                               )           ORDER DENYING DEFENDANTS
      vs.                      )           ACUNA’S AND VALENZUELA’S
                               )           MOTIONS TO REDUCE SENTENCES
 UNITED STATES OF AMERICA,     )           PURSUANT TO THE HOLLOWAY
                               )           DOCTRINE; EXHIBIT A
           Respondent.         )
                               )
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 _____________________________ )

      ORDER DENYING DEFENDANTS ACUNA’S AND VALENZUELA’S MOTIONS TO
           REDUCE SENTENCES PURSUANT TO THE HOLLOWAY DOCTRINE

 I.          INTRODUCTION.

             Defendants Benjamin Acuna and Anabel Valenzuela were

 sentenced in 2010 for conspiring to distribute methamphetamine

 and to commit money laundering.        Each is serving a 384-month (32-

 year) sentence.     Their direct appeals and their motions under 28

 U.S.C. § 2255 were unsuccessful.       Now, in nearly identical

 motions, Acuna and Valenzuela ask this court to reduce their

 sentences under the so-called Holloway Doctrine. That doctrine

 requires the Government’s agreement to a sentence reduction.              Far

 from agreeing, the Government in this case objects, leaving the

 court without authority to change the sentences, even assuming

 solely for argument’s sake that the court would otherwise grant

 the requests.    This court denies the motions.

 II.         BACKGROUND.

             Acuna and Valenzuela were indicted on November 17,
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 2007.   See ECF No. 1.     A superseding indictment, filed on July 2,

 2008, charged Acuna and Valenzuela, who are married to each

 other, with conspiring to distribute and possess with intent to

 distribute 50 grams of more of methamphetamine, its salts,

 isomers, and salts of its isomers (Count 1), and conspiring to

 commit money laundering (Count 3).            See ECF No. 264.        Counts 2

 and 4 sought criminal forfeiture of the proceeds and property

 derived from the criminal activities set forth in Counts 1 and 3.

 See id.

            Acuna and Valenzuela pled not guilty, and a jury trial

 commenced on August 6, 2008.      See ECF No. 274.             The United States

 presented evidence showing Acuna and Valenzuela’s leadership

 roles in an extensive and sophisticated conspiracy to transport

 thousands of pounds of methamphetamine from Mexico to Las Vegas,

 then to Oahu.    Acuna, Valenzuela, and some of their co-

 conspirators were alleged to have owned stores in Nevada that

 they used to hide the income they derived from their drug sales.

            On September 2, 2008, a jury convicted Acuna and

 Valenzuela of Counts 1 and 3 and found them subject to criminal

 forfeiture of $8 million in proceeds, as well as property in

 Nevada and money held in various bank accounts, all stemming from

 the drug and money laundering conspiracies.                 See ECF Nos. 370,

 386.

            This court held a sentencing hearing on January 5,


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 2009.    See ECF Nos. 439, 440.          With respect to Count 1, the court

 sentenced Acuna and Valenzuela to 384 months in prison and 5

 years of supervised release.        See ECF Nos. 439, 440.                With

 respect to Count 3, Acuna and Valenzuela were sentenced to 240

 months in prison and 3 years of supervised release.                      See ECF Nos.

 439, 440.    The sentences for Counts 1 and 3 are being served

 concurrently.    See ECF Nos. 439, 440.              This court also imposed

 special assessments of $200 on each Defendant.                     See ECF Nos. 439,

 440.    On December 15, 2010, the Ninth Circuit affirmed the

 convictions and sentences.        See ECF No. 636.

             On December 9, 2011, Valenzuela moved to vacate her

 sentence pursuant to 28 U.S.C. § 2255.                See ECF No. 648.         On

 February 13, 2012, Acuna similarly moved to vacate his sentence.

 See ECF No. 652.        On May 21, 2012, this court denied Acuna and

 Valenzuela’s respective motions to vacate their sentences and

 declined to issue certificates of appealability.                     See ECF Nos.

 674, 675.    The Ninth Circuit then denied Acuna’s and Valenzuela’s

 respective requests for certificates of appealability in 2013.

 See ECF Nos. 702, 703.

             In April 2016, having served only about a quarter of

 their 384-month sentences, Acuna and Valenzuela filed separate

 motions asking the court to reduce their sentences to what they

 said would be more fair and just sentences pursuant to the

 Holloway Doctrine.        See ECF Nos. 715, 718.               This court denies


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 these motions.

 III.       ANALYSIS.

            Acuna and Valenzuela seek to reduce their sentences

 under what is being called the “Holloway Doctrine.”                   The Holloway

 Doctrine gets its name from the name of a defendant in a case

 filed in the Eastern District of New York.                  See United States v.

 Holloway, 68 F. Supp. 3d 310 (E.D.N.Y. 2014).                  Acuna and

 Valenzuela describe the Holloway Doctrine as “recogniz[ing] that

 District Courts have the discretion to subsequently reduce a

 defendant[’]s sentence in the interest of fairness ‘Even after

 all appeals and collateral attacks have been exhausted, and there

 is neither a claim of innocence nor any defect in the conviction

 or sentence.’”    See ECF No. 715, PageID # 6973; ECF No. 718,

 PageID # 7002 (citing Holloway, 68 F. Supp. 3d at 311).

            A district court has only limited authority to modify a

 sentence once it has been imposed.            See 18 U.S.C. § 3582(c).

 Section 3582(c) provides that a judgment of a conviction

 including a sentence to imprisonment is final and may only be

 modified in three instances: 1) upon motion of the Director of

 the Bureau of Prisons; 2) pursuant to a motion by the Government

 under Rule 35(b) of the Federal Rules of Criminal Procedure; and

 3) pursuant to a sentencing range lowered by United States

 Sentencing Commission pursuant to 28 U.S.C. § 994(o).                   Under Rule

 35(a) of the Federal Rules of Criminal Procedure, a court may


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 correct a sentence that resulted from arithmetical, technical, or

 other clear error only within 14 days after sentencing.

            Holloway attempts to get around these limitations so as

 to permit a reduction of sentence in the “interest of fairness.”

 68 F. Supp. 3d at 311.      Francois Holloway was convicted of three

 counts of carjacking and sentenced to 151 months in prison for

 those counts under the then-mandatory sentencing guidelines.                   Id.

 at 312.   He was also convicted of three crimes of violence under

 18 U.S.C. § 924(c), having committed the carjacking at gunpoint.

 Id.   The first § 924(c) conviction carried a mandatory 5-year

 sentence, and each of the other § 924(c) convictions carried a

 mandatory sentence that, at the time, was 20 years for a second

 or subsequent § 924(c) conviction.             Id.    The § 924(c) sentences

 were required by statute to run consecutively to each other and

 to the carjacking sentence.      Id.        Holloway’s total prison term

 was 57 years and 7 months.      Id.      Both the Second Circuit and the

 Supreme Court affirmed the convictions and sentence.                  Id. at 313.

 The district court then denied Holloway’s § 2255 collateral

 attack, and the Second Circuit in 2010 declined to issue a

 certificate of appealability.          Id.     The Second Circuit further

 denied Holloway’s request that he be permitted to file a

 successive petition.      Id.

            In late 2012, Holloway filed a motion to reopen his

 § 2255 proceeding under Rule 60(b) of the Federal Rules of Civil


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 Procedure.    Id. at 314.     This motion triggered a review by Judge

 John Gleeson, the sentencing judge, who was troubled by the

 harshness of mandatory sentences.             See id.        He considered

 Holloway’s sentence of more than 57 years excessive and onerous.

 See id. at 312.     Judge Gleeson asked the Government to consider

 exercising its discretion by agreeing to an order vacating two or

 more of Holloway’s § 924(c) convictions so he “could face a more

 just resentencing.”       See id. at 314.         After initially declining

 Judge Gleeson’s request, the Government ultimately did not oppose

 Holloway’s Rule 60(b) motion to revisit the denial of § 2255

 relief, agreed to the vacating of some of Holloway’s convictions,

 and agreed that Judge Gleeson could resentence Holloway to 20

 years based on the remaining conviction.               See id. at 315-16.

            The Government’s agreement was based on its view that

 Holloway’s case was “unique” and that Holloway was “a unique

 defendant in many ways.”       See id. at 315.          A significant factor

 supporting this view was Holloway’s exemplary behavior while in

 custody.   See id.      In prison, Holloway had a mild disciplinary

 record with only a few minor infractions, and he had taken

 advantage of educational and other opportunities to better

 himself.   Id.   The Government also cited the victims’ support of

 Holloway’s release as a factor that made Holloway’s case unique.




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 See id.1

            Acuna and Valenzuela, no longer contesting their guilt,

 now rely on the Holloway Doctrine in requesting that their

 convictions as to Count 1 be vacated and that their sentences be

 reduced to be more fair and just.            See ECF No. 715, PageID

 # 6984; ECF No. 718, PageID # 7013.

            Neither the Second Circuit nor the Ninth Circuit has

 addressed the Holloway Doctrine.           Acuna and Valenzuela

 nevertheless argue that there “is no denying that there is a

 Holloway doctrine,” and that it is “a new principle of law”.                  See

 ECF No. 724, PageID #s 7113-14; ECF No. 725, PageID # 7125-26.

 Not everyone agrees.      In United States v. Horton, No. 2:12-CR-

 00007-F1, 2016 U.S. Dist. LEXIS 78611 (E.D.N.C. June 16, 2016),

 the court viewed the so-called Holloway Doctrine as not so much a

 doctrine, but as “a single case carrying no precedential weight


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        From such decisions by the district court, circuit court,
 and Supreme Court in the Holloway case as are accessible to this
 court, this court cannot discern whether Holloway’s § 924(c)
 sentences were imposed under § 924(c)(3)(A) or under
 § 924(c)(3)(B). Both subsections contain definitions of a “crime
 of violence,” with § 924(c)(3)(B) stating that an offense is a
 crime of violence if it is a felony and “by its nature, involves
 a substantial risk that physical force against the person or
 property of another may be used in the course of committing the
 offense.” Possibly, even without Judge Gleeson’s order reducing
 his sentence in 2014, Holloway might today seek to have his
 sentence reduced based on the argument that § 924(c)(3)(B) is as
 unconstitutionally vague as the “residual clause” in 18 U.S.C.
 § 924(3)(2)(B)(ii), which was invalidated in Johnson v. United
 States, 135 S. Ct. 2551 (2015). Whether this argument might
 succeed may depend on developments in case law in the Second
 Circuit and is beyond the scope of the present order.

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 in this court.”

            Regardless of how broadly the Holloway Doctrine might

 be applied, it has effect only if the Government agrees to a

 reduced sentence.       The Government does not agree here.               This

 court therefore lacks authority to change the previously imposed

 sentences.

            A.     The Government Has Declined to Agree to Reduced
                   Sentences.

            As Judge Gleeson recognized, relief of the type granted

 in Holloway is contingent on the Government’s acquiescence.                      See

 68 F. Supp. 3d at 316 (clarifying that decision “poses no threat

 to the rule of finality” and that “the authority exercised in

 this case will be used only as often as the Department of Justice

 itself chooses to exercise it, which will no doubt be

 sparingly”).

            In its opposition to Acuna’s and Valenzuela’s motions,

 the Government expressly declines to agree to or move for any

 reduction in the sentences in issue here.               See ECF No. 723,

 PageID # 7085; ECF No. 722, PageID # 7053.                   The Government’s

 approval is an essential element in granting relief under the

 Holloway decision.       See 68 F. Supp. 3d at 317.              This court has no

 authority to reduce a sentence absent such approval from the

 Government.

            This court notes that Acuna and Valenzuela have both

 previously filed § 2255 motions without success and were both

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 denied certificates of appealability.             See ECF Nos. 648, 651,

 674, 675.    In Holloway, Judge Gleeson granted Holloway’s motion

 to reopen his § 2255 proceeding under Rule 60(b), stating that

 there were “good reasons to revisit Holloway’s excessive sentence

 but no legal avenues or bases for vacating it.”                See 68 F. Supp.

 3d at 314.    Acuna and Valenzuela appear to be modeling their

 present motions on Holloway’s Rule 60(b) motion.

             In the Ninth Circuit, however, a federal prisoner may

 not rely on Rule 60(b) to raise a new claim under § 2255.                  See

 United States v. Buenrostro, 638 F.3d 720, 722 (9th Cir. 2011)

 (agreeing with Sixth, Seventh, and Tenth Circuits that Supreme

 Court ruling that state prisoner may not rely on Rule 60(b) to

 raise new claim in federal habeas proceedings that would

 otherwise be barred as second or successive motion under 28

 U.S.C. § 2254 also applies to motions to reopen § 2255

 proceedings).    Instead, as noted in Buenrostro, Rule 60(b)

 applies when, for example, a prisoner is seeking relief based on

 an alleged defect in the integrity of the federal heabeas

 proceedings, such as a fraud on the court during the prior § 2255

 proceedings.    Id.

             Because Acuna and Valenzuela are not asserting a defect

 in the prior § 2255 proceeding, Rule 60(b) is inapplicable.                  Nor

 does it appear to this court that they are bringing a second or

 successive § 2255 petition, for which Ninth Circuit certification


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 would be required.      If this court read their motions as bringing

 a claim under § 2255, this court would refer the motions to the

 Ninth Circuit pursuant to Circuit Rule 22-3(a).             But Acuna and

 Valenzuela are not claiming “the right to be released upon the

 ground that the sentence was imposed in violation of the

 Constitution or laws of the United States, or that the court was

 without jurisdiction to impose such sentence, or that the

 sentence was in excess of the maximum authorized by law, or is

 otherwise subject to collateral attack.”            See 28 U.S.C.

 § 2255(a).    Nor are they suggesting that relief is warranted

 based on newly discovered evidence or on a new rule of

 constitutional law, made retroactive to cases on collateral

 review by the Supreme Court.       See id. § 2255(h).         They are

 instead asking this court for mercy, asserting neither a right to

 relief nor any error by this court.          Their motions are in the

 nature of clemency petitions.          This court has no authority to

 grant clemency absent the Government’s agreement.              Acuna and

 Valenzuela should address their clemency requests to the

 President, not the court.

             B.    This Court Declines to Ask the Government to Agree
                   to Reduced Sentences.

             Lacking authority to reduce the sentences imposed, this

 court turns to the issue of whether Acuna and Valenzuela are

 really asking this court to do everything in its power to

 persuade the Government to consent to sentence reductions.                That

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 is, Acuna and Valenzuela may be asking for nothing more than the

 potential benefit of this court’s support for reducing their

 sentences.    Such support by Judge Gleeson redounded to Holloway’s

 benefit.    This court, however, does not view Acuna and Valenzuela

 as being analogous to Holloway.

             A primary focus of the motions filed by Acuna and

 Valenzuela is what they perceive as the disparity between their

 sentences and those of their co-conspirators.             See ECF No. 715,

 PageID #s 6977-78; ECF No. 718, PageID #s 7006-07.              Acuna and

 Valenzuela say that their sentences are disproportionately severe

 even when compared to sentences imposed on better-known leaders

 of major drug trafficking organizations.            See ECF No. 715, PageID

 #s 6981-82; ECF No. 718, PageID #s 7010-11.

             The Government asserts that Acuna’s and Valenzuela’s

 arguments fail because both their co-conspirators and the major

 drug kingpins that they refer to “accepted responsibility,

 cooperated and provided substantial assistance to the Government,

 were [involved in] vastly smaller scale crimes, etc.”               See ECF

 No. 723, PageID # 7084; ECF No. 722, PageID # 7056.              This court

 agrees.

             Neither Acuna nor Valenzuela provided assistance to the

 Government.    Unlike their co-conspirators or the drug kingpins

 they refer to, Acuna and Valenzuela did nothing that might have

 lowered their offense level and reduced their sentences.


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             Acuna and Valenzuela conspired to distribute over 2000

 pounds of methamphetamine that generated at least $8 million in

 profits.    The DEA described the methamphetamine trafficking

 conspiracy in this case as the largest, at least at the time, to

 have ever operated in the State of Hawaii.               See ECF No. 574,

 PageID # 10.     Acuna and Valenzuela were leaders of the drug

 conspiracy, not low-level operatives.           See id.

             The Government further argues that Acuna’s and

 Valenzuela’s 384-month sentences are already significantly below

 the guideline range.      See ECF No. 723, PageID # 7084; ECF No.

 722, PageID # 7056.      This court relied on the applicable United

 States Sentencing Guidelines Manual (effective November 1, 2008)

 in determining that Acuna and Valenzuela had a Total Offense

 Level of Level 46.      Each of them had a guideline range of life in

 prison.    Both Acuna and Valenzuela had a Base Offense Level for

 the drug conspiracy (Count 1) of Level 38, given the amount of

 methamphetamine involved.       For Acuna, 2 levels were added for the

 specific offense characteristic of possessing a firearm, 4 levels

 were added for his leadership role, and 2 levels were added for

 obstruction of justice.      For Valenzuela, 2 levels were added for

 the specific offense characteristic of having been convicted of

 money laundering under 18 U.S.C. § 1956, 4 levels were added for

 her leadership role, and 2 levels were added for obstruction of

 justice.    Amendment 782 to the Sentencing Guidelines, which


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 lowered the Base Offense Levels by 2 levels for many defendants

 charged with drug crimes, does not help Acuna and Valenzuela.

 Given the massive quantity of methamphetamine they were

 responsible for, their Total Offense Level remains at Level 46.

             This court did not impose the guideline sentence of

 life in prison.      Taking into account age and other family

 considerations, the court sentenced Acuna and Valenzuela to 384

 months.    See id.

             For the first time in their Reply briefs, Acuna and

 Valenzuela argue that they exercised their rights to trial “out

 of fear and ignorance,” and that this “forced” the court to

 impose a sentence of 384 months.            See ECF No. 724, PageID # 7114;

 ECF No. 725, PageID # 7126.       This court may disregard these

 arguments pursuant to Local Rule 7.4, which states that “[a]ny

 argument raised for the first time in the reply shall be

 disregarded.”

             Even if this court considers these arguments, they

 fail.    This court was not “forced” to sentence Acuna and

 Valenzuela to 384 months.       Unlike Holloway, this is not a case in

 which the guidelines were mandatory.           Holloway was sentenced

 before United States v. Booker, 543 U.S. 220 (2005), was decided.

 Under Booker, the sentencing guidelines are advisory, not

 mandatory.    When Acuna and Valenzuela were sentenced in 2009,

 this court had discretion under Booker to vary from the life


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 imprisonment guideline range.           And, although the court remained

 bound by the 10-year statutory mandatory minimum provided for in

 21 U.S.C. § 841(b)(1)(A) for the drug offense charged in Count 1,

 there were no sentences that were required by statute to be run

 consecutively, as there were in Holloway.             Nor can Acuna and

 Valenzuela argue (as Holloway might have been able to argue if

 his case were considered today) that they were sentenced under an

 unconstitutionally vague statute.

             Had they pled guilty, Acuna and Valenzuela might not

 have received the 2-level increase for obstructing justice, as

 that related to their trial testimony, and they might have

 received a 2-level reduction for accepting responsibility with an

 additional 1-level reduction for permitting the Government and

 the court to avoid preparing for trial pursuant to § 3E1.1 of the

 United States Sentencing Commission Guidelines Manual.                 The

 reduction of their Total Offense Level by 5 levels would have

 yielded a Total Offense Level of Level 41.                Notably, their

 sentences of 384 months happen to fall within the guideline range

 of 324 to 405 months applicable to Total Offense Level 41, given

 their lack of prior criminal history.            On the present record,

 neither Acuna nor Valenzuela establishes that a 384-month

 sentence must flow from what they refer to as “the audacity of

 going to trial.”        See ECF No. 724, PageID # 7114; ECF No. 725,

 PageID # 7126.


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             Besides citing Holloway, Acuna and Valenzuela cite a

 pair of recent decisions by Judge Jan E. Dubois from the Eastern

 District of Pennsylvania that acknowledged and adopted the

 Holloway Doctrine:      United States v. Ezell, No. 02-815-01, 2015

 U.S. Dist. LEXIS 109814 (E.D. Pa. Aug. 18, 2015), and United

 States v. Trader, Criminal Action No. 04-680-06, 2015 WL 4941820

 (E.D. Pa. Aug. 19, 2015).       See ECF No. 715, PageID # 6982.

             In Ezell, the defendant, following a trial, was

 sentenced in 2005 to a total of 132 years of imprisonment on six

 counts of carrying and using a firearm during “crimes of

 violence” (i.e., Hobbs Act robberies).           2015 U.S. Dist. LEXIS

 109814, at *7.     The sentence of over a century was mandatory

 under 18 U.S.C. § 924(c).2

             A conviction under § 924(c) carried a mandatory

 sentence of 5 years, which was mandatorily increased to 7 years

 if the defendant “brandished” the firearm.               The court sentenced

 Ezell to 7 years on the first § 924(c) count, given the court’s

 determination that Ezell had brandished the firearm during the

 robbery.    Ezell, 2015 U.S. Dist. LEXIS 109814, at *7.              On each of

 the five other § 924(c) counts, the court imposed the mandatory


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        At the time of sentencing, Johnson v. United States, 135
 S. Ct. 2551 (2015), had not yet been decided, and the issues of
 whether the sentence was based on the “residual clause” of
 § 924(c)(3)(B) and whether that provision was unconstitutionally
 vague did not arise. This court is certainly not opining here on
 whether an argument based on Johnson would or would not be
 successful if Ezell raised such an argument today.

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 statutory sentence of 25 years for a second or subsequent

 § 924(c) conviction.      Id.   The six § 924(c) convictions thus

 resulted in a 132-year total.          Id.

             In Trader, the court sentenced the defendant to the

 mandatory sentence of life imprisonment for conspiring to

 distribute more than 5 kilograms of cocaine and other substantive

 cocaine distribution offenses.          2015 WL 4941820, at *1.

             In both Ezell and Trader, the court held that the

 defendants were not entitled to relief under 28 U.S.C. § 2255,

 but considered the sentences to be grossly disproportionate.

 Judge Dubois was troubled by the lack of judicial power to do

 justice absent Government consent and called on the Government to

 cooperate in efforts to reduce the defendants’ sentences.

             Acuna’s and Valenzuela’s situations are distinguishable

 from those of the defendants in both Ezell and Trader because

 those cases involved mandatory sentences.            The only mandatory

 sentence applicable to Acuna and Valenzuela was the 10-year

 mandatory minimum for the drug conspiracy.               Their sentences of

 384 months were not mandatory.          Instead, their sentences

 reflected the court’s exercise of discretion, which included

 consideration of the advisory sentencing guideline range of life

 in prison.

             Acuna and Valenzuela also rely on United States v.

 Rivera, No. 83-00096-01-cr.       That reliance is misplaced.           In that


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 case from the Eastern District of Oklahoma, the defendant was

 convicted of several counts pertaining to the importation and

 transportation of large amounts of cocaine throughout the United

 States and sentenced to life imprisonment plus a concurrent 80

 years.       See Exhibit A, attached to this order.3         With the

 Government’s agreement, the defendant was released after about 30

 years in prison.        See id.   The Government cited Holloway and

 noted the defendant’s exemplary behavior in prison.               See id.    The

 Government also noted that the guidelines in 2015 would suggest a

 shorter prison term than the guidelines provided for at the time

 of sentencing.       See id.

                Unlike Holloway or Rivera, this is not a case involving

 guidelines that now suggest a shorter sentence.              68 F. Supp. 3d

 310.       Nor are Acuna and Valenzuela seeking relief after serving

 decades in prison.        Indeed, they have not yet completed serving

 the 10-year mandatory minimum sentences provided for by statute.

                The court is not disregarding what Acuna and Valenzuela



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        Copies of what appear to be the defendant’s original
 motion to vacate, the Government’s response, and the court’s
 order in the Rivera case are attached hereto as Exhibit A. These
 documents were located online at
 http://clemencyreport.org/wp-content/uploads/2015/09/Rivera-Motio
 n-to-Vacate-.pdf (last visited July 6, 2016),
 http://clemencyreport.org/wp-content/uploads/2015/09/Government-R
 esponse.pdf (last visited July 6, 2016), and
 http://clemencyreport.org/wp-content/uploads/2015/09/Order.pdf
 (last visited July 6, 2016). The documents were not found on
 Westlaw or Lexis and preceded electronic filing so are not
 accessible through the district court’s ECF system.

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 have achieved while in prison.          Acuna states that he has earned

 his way to a medium-security prison and is on the verge of

 securing enough positive points to be transferred to a low-

 security prison.        See ECF No. 715, PageID # 6980.         Acuna further

 states that he has completed numerous federal programs targeting

 rehabilitation, including programs in electronic circuits and

 business Excel, and that he has taken G.E.D. classes.                See id.

             Valenzuela states that she too has completed numerous

 federal programs targeting rehabilitation, including programs in

 Photoshop, Illustrator, Word, Excel, and Powerpoint.               See ECF No.

 718, PageID # 7009.        She says that she was a healthy lifestyles

 mentor for a year and has completed many re-entry classes.                 See

 id.   She further describes teaching aerobics, yoga, ESL, and fine

 arts, and volunteering at the chapel for Catholic services.                 She

 says that she is one class away from completing her Associate of

 Arts degree in Business and is a certified forklift driver.                 See

 id.

             According to Acuna and Valenzuela, they have undergone

 “personal transformation” and have “changed” during their 8 years

 in prison.    See   ECF No. 715, PageID # 6979; ECF No. 718, PageID

 # 7009.    The conduct listed by Acuna and Valenzuela during their

 incarceration is to be commended, but it does not, at this time,

 cause this court to apply the Holloway Doctrine by asking the

 Government to agree to reduced sentences.             The cases that Acuna


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 and Valenzuela cite involve circumstances distinguishable from

 those present in this case.       Unlike the judges in those cases,

 this court was not required by mandatory guidelines or by statute

 to impose 384-month sentences.         For that reason, Acuna and

 Valenzuela are asking nothing more than that this court change

 its mind.    That is not at all what Judge Gleeson appears to this

 court to have had in mind when he reduced Francois Holloway’s

 sentence.

 IV.         CONCLUSION.

             Acuna’s and Valenzuela’s motions to reduce their

 sentences pursuant to the Holloway Doctrine are denied.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, July 8, 2016.




                               /s/ Susan Oki Mollway
                               Susan Oki Mollway
                               United States District Judge




 Benjamin Acuna, Anabel Valenzuela v. United States of America, Crim. No. 07-
 00615 SOM; ORDER DENYING DEFENDANTS ACUNA’S AND VALENZUELA'S MOTIONS TO REDUCE
 SENTENCES PURSUANT TO THE HOLLOWAY DOCTRINE




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